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 ATTORNEY(S) FOR: Claimants

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA
                                                                              CASE NUMBER:
UNITED STATES OF AMERICA                                                      2:21-cv-07331-RGK
                                                              Plaintiff(s),
                                     v.

$325,680.00 IN U.S. CURRENCY,                                                                CERTIFICATION AND NOTICE
                                                                                               OF INTERESTED PARTIES
                                                             Defendant(s)                           (Local Rule 7.1-1)


TO:      THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Claimants, Hershel Tsikman, Vladimir Tsikman, and Polina Tsikman
or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.
                (List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

                               PARTY                                                 CONNECTION / INTEREST
Hershel Tsikman                                                                      Claimant
Vladimir Tsikman                                                                     Claimant
Polina Tsikman                                                                       Claimant
United States of America                                                             Plaintiff




         February 17, 2022                                 /s/ Benjamin N. Gluck
         Date                                              Signature
                                                           Benjamin N. Gluck

                                                           Attorney of record for (or name of party appearing in pro per):
                                                           Claimants, Hershel Tsikman, Vladimir Tsikman, and Polina
                                                           Tsikman
CV-30 (05/13)                                           NOTICE OF INTERESTED PARTIES
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